     Case: 1:19-cv-02710 Document #: 40 Filed: 07/02/19 Page 1 of 2 PageID #:3652




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

H-D U.S.A., LLC,
                                                  Case No. 19-cv-02710
              Plaintiff,
                                                  Judge Sharon Johnson Coleman
v.
                                                  Magistrate Judge M. David Weisman
HAPPYMOTO, et al.,
              Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure Plaintiff H-D U.S.A.,

LLC (“Harley-Davidson” or “Plaintiff”) hereby dismisses this action with prejudice against the

following Defendants:

                 Defendant Name                                 Line No.
                 advan_superstore                                   6
                     avantdigital                                  12
                     baoshenghk                                    15
                    bwsauto2019                                    24
                comfortable_seller                                 32
                      crave-gear                                   33
                      cutedigital                                  35
                  goldensun2011                                    51
                 goodlight2017bp                                   53
               headlightchannel2017                                60
                   hediseller2018                                  61
                  lightyourway17                                   76
                     mushannan                                     87
   Case: 1:19-cv-02710 Document #: 40 Filed: 07/02/19 Page 2 of 2 PageID #:3652




Dated this 2nd day of July 2019.     Respectfully submitted,


                                     /s/ RiKaleigh C. Johnson
                                     Amy C. Ziegler
                                     Justin R. Gaudio
                                     RiKaleigh C. Johnson
                                     Greer, Burns & Crain, Ltd.
                                     300 South Wacker Drive, Suite 2500
                                     Chicago, Illinois 60606
                                     312.360.0080 / 312.360.9315 (facsimile)
                                     aziegler@gbc.law
                                     jgaudio@gbc.law
                                     rjohnson@gbc.law

                                     Counsel for Plaintiff H-D U.S.A., LLC




                                        2
